                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA              )      CASE NO: 2:21-CR-22
                                      )
v.                                    )
                                      )
GREGORY MCMICHAEL                     )

             GOVERNMENT’S NOTICE OF PLEA AGREEMENT

       NOW COMES the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, Kristen Clarke,

Assistant Attorney General for the Civil Rights Division, and the undersigned

attorneys, and pursuant to 18 U.S.C. § 3161(h)(1)(G), notifies the Court that a Rule

11(c)(1)(C) plea agreement has been reached by the parties which, if accepted by the

Court, would dispose of the charges pending in the above-captioned case against

defendant Gregory McMichael. A copy of the plea agreement has been provided to

the Court for its consideration. The government respectfully requests that the Court

schedule a Rule 11 proceeding and accept the defendant’s plea as set forth in the

proposed agreement.

      Respectfully submitted this 30th day of January, 2022.

KRISTEN CLARKE                               DAVID H. ESTES
Assistant Attorney General                   United States Attorney

s/Christopher J. Perras                      s/Tara M. Lyons
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s/Barbara (Bobbi) Bernstein
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                       SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

UNITED STATES OF AMERICA                     )       CASE NO: 2:21-CR-22
                                             )
v.                                           )
                                             )
GREGORY MCMICHAEL                            )

                            CERTIFICATE OF SERVICE

       This is to certify that we have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       Submitted this 30th day of January, 2022.

                                             DAVID H. ESTES
                                             United States Attorney

                                             s/Tara M. Lyons
                                             Tara M. Lyons
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